               Case
B1 (Official Form        13-36374-KRH Doc 1 Filed 11/25/13 Entered 11/25/13
                  1) (04/13)                                                                                                    19:16:02           Desc Main
                              UNITED STATES BANKRUPTCYDocument
                                                      COURT    Page 1 of 58
                                                                                                                                    VOLUNTARY PETITION
               EASTERN DISTRICT OF VIRGINIA, RICHMOND DIVISION
                          __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
Jordan, John Taylor                                                                           Jordan, Carla Yvonne
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 4139                                                          (if more than one, state all): 6083

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
8400 South Carolina Court                                                                     8400 South Carolina Court
Spotsylvania, VA                                                                              Spotsylvania, VA
                                                         ZIP CODE           22553-3801                                                           ZIP CODE           22553-3801
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
Spotsylvania                                                                                  Spotsylvania
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                   ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                       X     Chapter 7                  Chapter 15 Petition for
 X      Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                             Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                          Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                   (Check one box.)
                                                                                                                      X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                   Filing Fee (Check one box.)                                                                Chapter 11 Debtors
                                                                                              Check one box:
 X      Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 X         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-         25,001-           50,001-          Over
                                                            5,000          10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                               X
 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
 Estimated Liabilities
                                                X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
               Case
B1 (Official Form       13-36374-KRH Doc 1 Filed 11/25/13 Entered 11/25/13 19:16:02 Desc Main
                  1) (04/13)
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 58Jordan, John Taylor and Jordan, Carla Yvonne
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
          Exhibit A is attached and made a part of this petition.
                                                                                                X        /s/Robert B. Easterling               November 18, 2013
                                                                                                    Signature of Attorney for Debtor(s)       (Date)
                                                                                                    Bar No.: VSB #15552

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

          Yes, and Exhibit C is attached and made a part of this petition.

  X       No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  X       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

      X   Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                X      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case
B1 (Official Form       13-36374-KRH Doc
                  1) (04/13)                                   1    Filed 11/25/13 Entered 11/25/13 19:16:02 Desc Main                         Page 3
 Voluntary Petition                                                 Document     Page
                                                                                  Name of 3 of 58 Jordan, John Taylor and Jordan, Carla Yvonne
                                                                                          Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    /s/John Taylor Jordan                                                                  X
      Signature of Debtor                  John Taylor Jordan                                     (Signature of Foreign Representative)

 X    /s/Carla Yvonne Jordan
      Signature of Joint Debtor Carla Yvonne Jordan                                               (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      November 18, 2013                                                                           Date
      Date
                                Signature of Attorney*                                                   Signature of Non-Attorney Bankruptcy Petition Preparer

 X    /s/Robert B. Easterling                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Robert B. Easterling                                                                   provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Robert B. Easterling, Attorney                                                         guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      2217 Princess Anne Street Suite 100-2                                                  or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Fredericksburg, Virginia 22401-3359                                                    attached.
      Address
      (540) 373-5030
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      November 18, 2013
      Date
      Bar No.: VSB #15552                                                                         Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
      Fax: (540) 373-5234
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
      E-mail: eastlaw@easterlinglaw.com
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
      Case 13-36374-KRH                     Doc 1   Filed 11/25/13 Entered 11/25/13 19:16:02   Desc Main
                                                    Document     Page 4 of 58
B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF VIRGINIA
                                                   RICHMOND DIVISION

In re John Taylor Jordan , Carla Yvonne Jordan                             Case No.
                           Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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                                                   Document     Page 5 of 58
B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: /s/John Taylor Jordan

Date: November 18, 2013




                                                              2
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                                 Document     Page 6 of 58




                                               Certificate Number: 03088-VAE-CC-022042394


                                                              03088-VAE-CC-022042394




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 14, 2013, at 4:22 o'clock PM CDT, John T Jordan
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the Eastern District of
Virginia, an individual [or group] briefing that complied with the provisions of 11
U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:   October 14, 2013                       By:      /s/Crystal Towner


                                               Name: Crystal Towner


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF VIRGINIA
                                                   RICHMOND DIVISION

In re John Taylor Jordan, Carla Yvonne Jordan                             Case No.
                          Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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                                                   Document     Page 8 of 58
B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Joint Debtor: /s/Carla Yvonne Jordan

Date: November 18, 2013




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Case 13-36374-KRH       Doc 1    Filed 11/25/13 Entered 11/25/13 19:16:02              Desc Main
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                                               Certificate Number: 03088-VAE-CC-022042393


                                                              03088-VAE-CC-022042393




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 14, 2013, at 4:22 o'clock PM CDT, Carla Y Jordan
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the Eastern District of
Virginia, an individual [or group] briefing that complied with the provisions of 11
U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:   October 14, 2013                       By:      /s/Crystal Towner


                                               Name: Crystal Towner


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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B6A (Official Form 6A) (12/07)

In re John Taylor Jordan and Carla Yvonne Jordan,                                                   Case No.
                                           Debtor                                                                           (If known)


                                 SCHEDULE A - REAL PROPERTY




                                                                                    Husband, Wife, Joint,
                                                                                                              CURRENT VALUE




                                                                                       or Community
                                                                                                                OF DEBTOR’S
                  DESCRIPTION AND                                                                               INTEREST IN         AMOUNT OF
                                                      NATURE OF DEBTOR’S
                    LOCATION OF                                                                             PROPERTY, WITHOUT        SECURED
                                                     INTEREST IN PROPERTY
                     PROPERTY                                                                                 DEDUCTING ANY           CLAIM
                                                                                                              SECURED CLAIM
                                                                                                               OR EXEMPTION




 8400 South Caronlina Court
 Spotsylvania, VA 22553-3801
                                                    Fee Owner                                J                     $319,000.00           $412,713.00




                                                                                  Total ►                           $319,000.00


                                                    (Report also on Summary of Schedules.)
      Case 13-36374-KRH                        Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02                        Desc Main
                                                        Document      Page 11 of 58
B 6B (Official Form 6B) (12/2007)

In re John Taylor Jordan and Carla Yvonne Jordan,                                        Case No.
                                           Debtor                                                                     (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                           Joint, Or Community
                                                                                                                   CURRENT VALUE OF




                                                                                              Husband, Wife,
                                                N                                                                DEBTOR’S INTEREST IN
                                                O             DESCRIPTION AND LOCATION                            PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                   OF PROPERTY                                     DEDUCTING ANY
                                                E                                                                   SECURED CLAIM
                                                                                                                     OR EXEMPTION


 1. Cash on hand.                                      Cash                                         J                               $200.00


 2. Checking, savings or other financial               Capital One Checking #5944                  J                               $1,400.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                       Bank of America Checking #2457              J                                $200.00



                                                       Partners 1st FCU Savings #3361           W




 3. Security deposits with public utilities,
 telephone companies, landlords, and            X
 others.

 4. Household goods and furnishings,                   3 bedroom sets - 350                        J                               $1,300.00
 including audio, video, and computer                  Living room set - 200
 equipment.                                            Dining room set - 75
                                                       Patio set - 100
                                                       Washer/dryer - 200
                                                       Refrigerator - 50
                                                       Dishwasher - 25
                                                       Oven - 50
                                                       2 televisions - 200
                                                       1 computer - 50




 5. Books; pictures and other art objects;             Books, CDs and pictures                     J                                $110.00
 antiques; stamp, coin, record, tape,
 compact disc, and other collections or
 collectibles.


 6. Wearing apparel.                                   Personal clothing                           J                                $100.00



 7. Furs and jewelry.                                  Wedding and engagement rings                J                               $3,000.00



                                                       Costume jewelry                          W                                    $25.00
      Case 13-36374-KRH                         Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02         Desc Main
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B 6B (Official Form 6B) (12/2007)

In re John Taylor Jordan and Carla Yvonne Jordan,                                             Case No.
                                           Debtor                                                        (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)


 8. Firearms and sports, photographic, and              Shotgun                                    H                    $300.00
 other hobby equipment.


 9. Interests in insurance policies. Name               Forester's whole life insurance                                  $18.00
 insurance company of each policy and
 itemize surrender or refund value of each.


                                                        Erie term life insurance                                           $0.00



 10. Annuities. Itemize and name each
                                                 X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                 X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or                 VRS plan                                   W                  $12,765.17
 other pension or profit sharing plans.
 Give particulars.


 13. Stock and interests in incorporated                Jordan's Carpentry, Inc.                   J                       $1.00
 and unincorporated businesses. Itemize.


                                                        CAPITAL ONE STOCK (part of 1 share)        H                       $1.00



 14. Interests in partnerships or joint
                                                 X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable              X
 instruments.

 16. Accounts receivable.                        X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor        X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                 X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than        X
 those listed in Schedule A – Real
 Property.
      Case 13-36374-KRH                      Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02       Desc Main
                                                      Document      Page 13 of 58
B 6B (Official Form 6B) (12/2007)

In re John Taylor Jordan and Carla Yvonne Jordan,                                        Case No.
                                           Debtor                                                   (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)


 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                              X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and    X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                              X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and              2011 Subaru Forester                     J                  $15,575.00
 other vehicles and accessories.


                                                     2013 Subaru Outback                      H                  $19,825.00



                                                     1994 Ford Pickup                         H                    $150.00



                                                     2008 Suzuki Boulevard C50                H                   $3,815.00



 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and              Computer                                 H                    $150.00
 supplies..                                          Printer




 29. Machinery, fixtures, equipment, and             Carpenter's tools                        J                    $200.00
 supplies used in business.


 30. Inventory.                               X
      Case 13-36374-KRH                    Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02                 Desc Main
                                                    Document      Page 14 of 58
B 6B (Official Form 6B) (12/2007)

In re John Taylor Jordan and Carla Yvonne Jordan,                                                Case No.
                                           Debtor                                                           (If known)


                                    SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)


 31. Animals.                                      3 cats                                             J                    $100.00
                                                   3 dogs
                                                   2 goats
                                                   Guinea pig
                                                   Koi fish




                                                   10 chickens                                        J                     $50.00



 32. Crops - growing or harvested. Give
                                            X
 particulars.

 33. Farming equipment and implements.             Tiller                                             H                    $500.00



 34. Farm supplies, chemicals, and feed.    X

 35. Other personal property of any kind
                                            X
 not already listed. Itemize.


                                            3 continuation sheets attached         Total ►                               $59,785.17
                                                       (Include amounts from any continuation
                                                         sheets attached. Report total also on
                                                               Summary of Schedules.)
     Case 13-36374-KRH                 Doc 1       Filed 11/25/13 Entered 11/25/13 19:16:02                           Desc Main
                                                  Document      Page 15 of 58
B6C (Official Form 6C) (04/13)

In re John Taylor Jordan and Carla Yvonne Jordan,                                             Case No.
                                   Debtor                                                                            (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 Cash                                                             CV §§ 34-4, 34-13                      $200.00                   $200.00


 Capital One Checking #5944                                       CV §§ 34-4, 34-13                   $1,400.00                   $1,400.00


 Bank of America Checking #2457                                   CV §§ 34-4, 34-13                      $200.00                   $200.00


 3 bedroom sets - 350
 Living room set - 200
 Dining room set - 75
 Patio set - 100
 Washer/dryer - 200                                               CV § 34-26(4a)                      $1,300.00                   $1,300.00
 Refrigerator - 50
 Dishwasher - 25
 Oven - 50
 2 televisions - 200
 1 computer - 50

 Books, CDs and pictures                                          CV §§ 34-4, 34-13                      $110.00                   $110.00


 Personal clothing                                                CV § 34-26(4)                           $25.00                   $100.00


 Wedding and engagement rings                                     CV § 34-26(1a)                      $3,000.00                   $3,000.00


 Costume jewelry                                                  CV § 34-26(4)                           $25.00                      $25.00


 Shotgun                                                          VC § 34-26(4b)                         $300.00                   $300.00


 Forester's whole life insurance                                  CV §§ 34-4, 34-13                       $18.00                      $18.00


 VRS plan                                                         CV § 51.1-124.4                    $12,765.17                $12,765.17


 CAPITAL ONE STOCK (part of 1 share)                              CV §§ 34-4, 34-13                        $1.00                       $1.00


 2008 Suzuki Boulevard C50                                        CV § 34-26(8)                          $820.00                  $3,815.00


 Computer                                                         CV §§ 34-4, 34-13                      $150.00                   $150.00
 Printer

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
     Case 13-36374-KRH            Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02             Desc Main
                                           Document      Page 16 of 58
B6C (Official Form 6C) (04/13)

In re John Taylor Jordan and Carla Yvonne Jordan,                          Case No.
                                   Debtor                                                       (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                    (Continuation Sheet)


 Carpenter's tools                                       CV § 34-26(7)                $200.00                $200.00


 3 cats
 3 dogs
                                                         CV § 34-26(5)                $100.00                $100.00
 2 goats
 Guinea pig
 Koi fish

 10 chickens                                             CV § 34-27                    $50.00                 $50.00


 Tiller                                                  CV § 34-27                   $500.00                $500.00
           Case 13-36374-KRH                                                                             Doc 1                                        Filed 11/25/13 Entered 11/25/13 19:16:02                                                                                                                                                                 Desc Main
 B 6D (Official Form 6D) (12/07)                                                                                                                     Document      Page 17 of 58

  In re ____________________________________,
        John Taylor Jordan and Carla Yvonne Jordan                                                                                                                                                                                                          Case No. __________________________________
                                                                                                         Debtor                                                                                                                                                                    (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                        HUSBAND, WIFE,




                                                                                                                                                                                                                                                    UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                                        DATE CLAIM WAS                                                                                                                                                                          AMOUNT OF CLAIM                                              UNSECURED




                                                                                                                                                                                                           CONTINGENT
                                                                                                         COMMUNITY
                                                                 CODEBTOR
      MAILING ADDRESS                                                                                                                             INCURRED,                                                                                                                                                                               WITHOUT                                                  PORTION, IF

                                                                                                          JOINT, OR




                                                                                                                                                                                                                                                                                               DISPUTED
  INCLUDING ZIP CODE AND                                                                                                                      NATURE OF LIEN ,                                                                                                                                                                        DEDUCTING VALUE                                                 ANY
    AN ACCOUNT NUMBER                                                                                                                                 AND                                                                                                                                                                              OF COLLATERAL
     (See Instructions Above.)                                                                                                                   DESCRIPTION
                                                                                                                                                AND VALUE OF
                                                                                                                                                  PROPERTY
                                                                                                                                               SUBJECT TO LIEN
 ACCOUNT NO. 2606                                                                                                                            03/25/2011
Chase Bank                                                                                                                                   Lien on title
Chase
P.O. Box 901037                                                                                                                              2011 Subaru
                                                                                                             J                               Forester                                                                                                                                                                                              $22,320.80                                              $6,745.80
Fort Worth, TX 76101-2037

                                                                                                                                                     VALUE $        $15,575.00
                                                                            —————————————————————
                                     ————————————————————




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ACCOUNT    NO. 3361
————————————————————————————————————
                                                                                                                                             12/22/2010
Partners 1st FCU                                                                                                                             Lien on title
1330 Directors Row
Fort Wayne, IN 46808-1274                                                                                                                    2008 Suzuki
                                                                                                             J                               Boulevard                                                                                                                                                                                               $2,995.00

                                                                                                                                         —————————————————————————
                                                                                                                                VALUE $
——————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                                     $3,815.00
                                         —————————————————————



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ACCOUNT    NO. 2101
————————————————————————————————————
                                                                                                                                                 12/28/2012
Subaru Motors Finance                                                                                                                            Lien on title
Chase
P.O. Box 901076                                                                                                                                  2013 Subaru
Fort Worth, TX 76101-2076                                                                                    H                                   Outback                                                                                                                                                                                            $30,735.00                                           $10,910.00

                                                                                                                                             —————————————————————————
                                                                                                                                    VALUE $
——————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                                    $19,825.00
                                         —————————————————————



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ACCOUNT    NO. 0119
————————————————————————————————————
                                                                                                                                                 06/04/2008
US Bank                                                                                                                                          2nd Deed of Trust
P.O. Box 2188
Oshkosh, WI 54903-2188                                                                                                                           8400 South Caronlina
                                                                                                             J                                   Court                                                                                                                                                                                              $46,620.00                                             $1,843.00
                                                                                                                                                 Spotsylvania, VA
                                                                                                                                                 22553-3801
                                                                                                                                             —————————————————————————
                                                                                                                                VALUE $
——————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                                   $319,000.00



 ____
   1 continuation sheets                                                                                                                             Subtotal ►                                                                                                                                                                       $            102,670.80 $                                            19,498.80
      attached                                                                                                                                       (Total of this page)
                                                                                                                                                     Total ►                                                                                                                                                                          $                                                        $
                                                                                                                                                     (Use only on last page)
                                                                                                                                                                                                                                                                                                                                      (Report also on Summary of                               (If applicable, report
                                                                                                                                                                                                                                                                                                                                      Schedules.)                                              also on Statistical
                                                                                                                                                                                                                                                                                                                                                                                               Summary of Certain
                                                                                                                                                                                                                                                                                                                                                                                               Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                                                               Data.)
 B 6D (Official Form 6D) (12/07) – Cont.
           Case 13-36374-KRH                                                                   Doc 1                                 Filed 11/25/13 Entered 11/25/13 19:16:02                                                                                                                                                                      Desc Main
                                                                                                                                    Document      Page 18 of 58
 In re ____________________________________,
       See 1 in Addendum                                                                                                                            Case No. __________________________________
                   Debtor                                                                                                                                                  (if known)

                                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                             (Continuation Sheet)




                                                                                           HUSBAND, WIFE,




                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                                          CONTINGENT
                                                                                            COMMUNITY
  CREDITOR’S NAME AND                                                                                                                 DATE CLAIM WAS



                                                        CODEBTOR




                                                                                             JOINT, OR




                                                                                                                                                                                                                                                                      DISPUTED
     MAILING ADDRESS                                                                                                                 INCURRED, NATURE                                                                                                                                                    AMOUNT OF CLAIM
                                                                                                                                                                                                                                                                                                             WITHOUT                               UNSECURED
   INCLUDING ZIP CODE                                                                                                                   OF LIEN , AND
                                                                                                                                                                                                                                                                                                         DEDUCTING VALUE                           PORTION, IF
     AND AN ACCOUNT                                                                                                                   DESCRIPTION AND
                                                                                                                                                                                                                                                                                                          OF COLLATERAL                               ANY
           NUMBER                                                                                                                   VALUE OF PROPERTY
    (See Instructions Above.)                                                                                                         SUBJECT TO LIEN




                                                                                                                                                                                                                                              —————————————————————
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ACCOUNT NO. 8017
——————————————————————————————
                                                                                                                            11/09/2010
US Bank                                                                                                                     Deed of Trust
P.O. Box 2188
Oshkosh, WI                                                                                                                 8400 South
                                                                                                J                           Caronlina Court                                                                                                                                                                   $366,093.00
54903-2188
                                                                                                                            Spotsylvania, VA
                                                                                                                            22553-3801
                                                                                                                   ———————————————————————————
                                                                                                                            VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                 $319,000.00




 Sheet no.______of______continuation
              1        1                                                                                                                        Subtotal (s)►                                                                                                                                            $    366,093.00 $                                 0.00
 sheets attached to Schedule of                                                                                                         (Total(s) of this page)
 Creditors Holding Secured
 Claims
                                                                                                                                                  Total(s) ►                                                                                                                                             $    468,763.80 $                            19,498.80
                                                                                                                                       (Use only on last page)
                                                                                                                                                                                                                                                                                 (Report also on                           (If applicable, report also on
                                                                                                                                                                                                                                                                                 Summary of Schedules.)                    Statistical Summary of Certain
                                                                                                                                                                                                                                                                                                                           Liabilities and Related Data.)
Case 13-36374-KRH       Doc 1    Filed 11/25/13 Entered 11/25/13 19:16:02   Desc Main
                                Document      Page 19 of 58



                                    Attachment

1.   John Taylor Jordan and Carla Yvonne Jordan
          Case 13-36374-KRH                  Doc 1      Filed 11/25/13 Entered 11/25/13 19:16:02                               Desc Main
                                                       Document      Page 20 of 58
B 6E (Official Form 6E) (04/13)

       In re
                John Taylor Jordan and Carla Yvonne Jordan                             ,              Case No.
                                                Debtor                                                                    (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

X Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            1 continuation sheets attached
                                                           ____
          Case 13-36374-KRH                                             Doc 1                        Filed 11/25/13 Entered 11/25/13 19:16:02                                                                                                  Desc Main
B 6E (Official Form 6E) (04/13) – Cont.
                                                                                                    Document      Page 21 of 58

      John Taylor Jordan and Carla Yvonne Jordan
In re __________________________________________,                                                                                      Case No. _________________________________
                   Debtor                                                                                                                                (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                               (Continuation Sheet)

                   Taxes and Certain Other Debts Owed to Governmental Units Type of Priority for Claims Listed on This Sheet

                                                                                                                                                                                                      -




                                                                                                                                                               UNLIQUIDATED
       CREDITOR’S NAME,                                                                             DATE CLAIM WAS                                                                                             AMOUNT                     AMOUNT                  AMOUNT




                                                                                                                                       CONTINGENT
                                                                        HUSBAND, WIFE,

                                                                         COMMUNITY
        MAILING ADDRESS                                                                              INCURRED AND                                                                                                OF                       ENTITLED                   NOT

                                                                          JOINT, OR




                                                                                                                                                                                         DISPUTED
      INCLUDING ZIP CODE,                                                                           CONSIDERATION                                                                                               CLAIM                        TO                   ENTITLED
                                                      CODEBTOR


     AND ACCOUNT NUMBER                                                                                FOR CLAIM                                                                                                                          PRIORITY                    TO
       (See instructions above.)                                                                                                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                                                                                                     ANY
                                           ————————
                                                             ————————


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 Account No.
———————————————
             4977                                                                             12/31/2012

Commonwealth of Virginia
Department of Taxation -                                                     J                760C                                                                                                             $605.91                    $605.91                    $0.00
Legal Unit                                                                                    Interest/Penalty
P.O. Box 2156
Richmond, VA 23218-2156
—————————————————————————————————————————————————
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 Account No.
———————————————
             4139                                                                             12/31/2011


Internal Revenue Service                                                     J                Federal Income                                                                                                   $1,357.00                  $1,357.00                  $0.00
P.O. Box 7346                                                                                 Tax
Philadelphia, PA 19101-7346

—————————————————————————————————————————————————




            1 of ___
 Sheet no. ___     1 continuation sheets attached to Schedule                                                                       Subtotals'                                                             $      1,962.91 $                 1,962.91                   $0.00
 of Creditors Holding Priority Claims                                                                                      (Totals of this page)

                                                                                                                                        Total'                                                             $      1,962.91
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. Report also on the Summary
                                                                                                    of Schedules.)

                                                                                                                                        Totals'                                                                                       $      1,962.91            $       0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. If applicable, report also on
                                                                                                    the Statistical Summary of Certain
                                                                                                    Liabilities and Related Data.)
               Case
B 6F (Official Form     13-36374-KRH
                    6F) (12/07)                    Doc 1                         Filed 11/25/13 Entered 11/25/13 19:16:02                                                                                           Desc Main
                                                                                Document      Page 22 of 58
         John Taylor Jordan and Carla Yvonne Jordan
   In re _________________________________________________________,                                                        Case No. _________________________________
                                           Debtor                                                                                                  (if known)
      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                              HUSBAND, WIFE,

                                                                               COMMUNITY
           CREDITOR’S NAME,                                                                                   DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                         UNLIQUIDATED
                                                                                JOINT, OR




                                                                                                                                                CONTINGENT
                                                       CODEBTOR
            MAILING ADDRESS                                                                                    INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                    DISPUTED
          INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                        CLAIM.
               See instructions above.                                                                     IF CLAIM IS SUBJECT TO
                                                                                                              SETOFF, SO STATE.

     ACCOUNT NO.
                                           —————————

                                                                  —————————




                                                                                               —————————




                                                                                                                                    —————————


                                                                                                                                                             —————————

                                                                                                                                                                                        —————————

                                                                                                                                                                                                               —————————
                 3000                                                                                01/10/2006
     ————————————————
                                                                                                     Credit Card
      American Express                                                             W                 Closed 08/2013                                                                                                               $16,438.72
      P.O. Box 981535
      El Paso, TX 79998-1535

     —————————————————————————————————————————————————————

      Additional Contacts for American Express (3000):


        American Express
        c/o Zwicker & Associates,
        P.C.
        948 Clopper Road, 2nd
        Floor
        Gaithersburg, MD
        20878-1366

     ACCOUNT NO.
                                           —————————

                                                                  —————————




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                                                                                                                                                                                        —————————

                                                                                                                                                                                                               —————————
                 1812
     ————————————————                                                                                02/09/2011

                                                                                                     Credit Card
      Citi Cards                                                                   W                 Closed 02/2013                                                                                                               $10,247.00
      P.O. Box 6500
      Sioux Falls, SD 57117-6500

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     ACCOUNT NO.
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                 4250
     ————————————————                                                                                07/14/2013

     Clinical Pathology Assoc of   Medical Services
     Fredbg                      W                   $222.77
     1001 Sam Perry Boulevard
     Fredericksburg, VA
     22401-4453
     —————————————————————————————————————————————————————



                                                                                                                                                                             Subtotal'                                     $      26,908.49
         2
       _____continuation sheets attached                                                                                                             Total'                                                                $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                         Summary of Certain Liabilities and Related Data.)
               Case
B 6F (Official Form     13-36374-KRH
                    6F) (12/07) - Cont.             Doc 1                         Filed 11/25/13 Entered 11/25/13 19:16:02                                                                                          Desc Main
                                                                                 Document      Page 23 of 58
      John Taylor Jordan and Carla Yvonne Jordan
In re __________________________________________,                                                                           Case No. _________________________________
                      Debtor                                                                                                                  (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                     (Continuation Sheet)




                                                                               HUSBAND, WIFE,




                                                                                                                                                                          UNLIQUIDATED
                                                                                COMMUNITY
                                                                                                               DATE CLAIM WAS




                                                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                                        CODEBTOR


                                                                                 JOINT, OR




                                                                                                                                                                                                     DISPUTED
                                                                                                                INCURRED AND
            MAILING ADDRESS
                                                                                                             CONSIDERATION FOR                                                                                                  AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                                                    CLAIM.                                                                                                        CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.

      ACCOUNT NO.
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————


                                                                                                                                                                                         —————————


                                                                                                                                                                                                                —————————
                  3762
      ————————————————                                                                               04/07/2004

                                                                                                     Credit Card
      Discover Financial Services                                                   J                                                                                                                                              $8,116.00
      P.O. Box 3025
      New Albany, OH 43054-3025

      —————————————————————————————————————————————————————

      ACCOUNT NO.
                                            —————————

                                                                   —————————




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                                                                                                                                                              —————————


                                                                                                                                                                                         —————————


                                                                                                                                                                                                                —————————
                  5423                                                                               09/14/2011
      ————————————————
                                                                                                     Student loans
      Fedloan Servicing                                                            W                                                                                                                                              $60,286.41
      P.O Box 69184
      Harrisburg, PA 17106-9184

      —————————————————————————————————————————————————————

      ACCOUNT NO.
                                            —————————

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                                                                                                                                                                                                                —————————
                  4144                                                                               09/01/1999
      ————————————————
                                                                                                     Credit Card
      Macy's
      Bankruptcy Processing                                                         J                                                                                                                X                                $1.00
      P.O. Box 8053
      Mason, OH 45040-8053

      —————————————————————————————————————————————————————

      ACCOUNT NO.
                                            —————————

                                                                   —————————




                                                                                                —————————




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                                                                                                                                                              —————————


                                                                                                                                                                                         —————————


                                                                                                                                                                                                                —————————




                  4250
      ————————————————                                                                               12/28/2012

      Mary Washington Hospital       Medical Services
      2300 Fall Hill Avenue, Suite W                  $222.77
      313
      Fredericksburg, VA
      22401-3343
      —————————————————————————————————————————————————————


       Sheet no. 1 of 2 continuation sheets attached                                                                                                                            Subtotal'                                   $      68,626.18
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                                                     Total'                                                                 $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
               Case
B 6F (Official Form     13-36374-KRH
                    6F) (12/07) - Cont.     Doc 1         Filed 11/25/13 Entered 11/25/13 19:16:02                                                      Desc Main
                                                         Document      Page 24 of 58
      John Taylor Jordan and Carla Yvonne Jordan
In re __________________________________________,                                                  Case No. _________________________________
                      Debtor                                                                                         (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        (Continuation Sheet)




                                                       HUSBAND, WIFE,




                                                                                                                              UNLIQUIDATED
                                                        COMMUNITY
                                                                             DATE CLAIM WAS




                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                            CODEBTOR


                                                         JOINT, OR




                                                                                                                                             DISPUTED
                                                                              INCURRED AND
            MAILING ADDRESS
                                                                           CONSIDERATION FOR                                                                AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                  CLAIM.                                                                      CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                 IF CLAIM IS SUBJECT TO
                                                                             SETOFF, SO STATE.

      Additional Contacts for Mary Washington Hospital (4250):



        Mary Washington
        Healthcare
        2300 Fall Hill Avenue,
        Suite 101
        Fredericksburg, VA
        22401-3342




       Sheet no. 2 of 2 continuation sheets attached                                                                                Subtotal'           $           0.00
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                             Total'                     $      95,534.67
                                                                               (Use only on last page of the completed Schedule F.)
                                                            (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data.)
Case 13-36374-KRH               Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02                     Desc Main
                                         Document      Page 25 of 58
  B 6G (Official Form 6G) (12/07)

  In re John Taylor Jordan and Carla Yvonne Jordan,                            Case No.
                                          Debtor                                          (if known)

   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Check this box if debtor has no executory contracts or unexpired leases.


                                                                DESCRIPTION OF CONTRACT OR LEASE AND
         NAME AND MAILING ADDRESS,                               NATURE OF DEBTOR’S INTEREST. STATE
             INCLUDING ZIP CODE,                                WHETHER LEASE IS FOR NONRESIDENTIAL
   OF OTHER PARTIES TO LEASE OR CONTRACT.                          REAL PROPERTY. STATE CONTRACT
                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
     Case 13-36374-KRH                 Doc 1     Filed 11/25/13 Entered 11/25/13 19:16:02    Desc Main
                                                Document      Page 26 of 58
B 6H (Official Form 6H) (12/07)

In re John Taylor Jordan and Carla Yvonne Jordan,                    Case No.
                                                Debtor                               (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                             NAME AND ADDRESS OF CREDITOR
       Case 13-36374-KRH                  Doc 1       Filed 11/25/13 Entered 11/25/13 19:16:02                            Desc Main
                                                     Document      Page 27 of 58
B6I (Official Form 6I) (12/07)

       In re   John Taylor Jordan and Carla Yvonne                               Case No.
               Jordan,
                       Debtor                                                                                    (if known)


               SCHEDULE I – CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 Debtor’s Marital
                                                             DEPENDENTS OF DEBTOR AND SPOUSE
 Status:
       Married          RELATIONSHIP(S):         Daughter and Son                                          AGES(S):      12 and 9
 Employment:                                      DEBTOR                                                  SPOUSE
 Occupation                        Self-employed - Construction Manager                                   Teacher
 Name of Employer                         Jordan's Carpentry, Inc.                               Orange County Public Schools
 How long employed                                 19 yrs                                                   7 yrs
 Address of Employer           8400 S. Carolina Court                                 200 Dailey Drive
                               Spotsylvania, VA 22553                                 Orange, VA 22960-0204

 INCOME: (Estimate of average or projected monthly income at                     DEBTOR                             SPOUSE
            time case filed)
  1.     Monthly gross wages, salary, and commissions
            (Prorate if not paid monthly)                               $                   3,261.30        $                       3,511.33
  2.     Estimate monthly overtime                                      $                       0.00        $                           0.00

  3.     SUBTOTAL                                                       $                   3,261.30        $                       3,511.33

  4.     LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                           $                     650.00        $                        429.25
         b. Insurance                                                   $                       0.00        $                        933.15
         c. Union dues                                                  $                       0.00        $                          0.00
         d. Other (Specify): VRS Retirement                             $                       0.00        $                        210.68

  5.     SUBTOTAL OF PAYROLL DEDUCTIONS                                 $                     650.00        $                       1,573.08

  6.     TOTAL NET MONTHLY TAKE HOME PAY                                $                   2,611.30        $                       1,938.25

  7.     Regular income from operation of business or profession
             or farm (Attach detailed statement)                        $                                   $
  8.     Income from real property                                      $                                   $
  9.     Interest and dividends                                         $                                   $
 10.     Alimony, maintenance or support payments payable to the
             debtor for the debtor’s use or that of dependents listed
             above                                                      $                                   $
 11.     Social security or government assistance
         (Specify):                                                     $                                   $
 12.     Pension or retirement income                                   $                                   $
                                                                        $                       0.00        $                           0.00

 14.     SUBTOTAL OF LINES 7 THROUGH 13                                 $                       0.00        $                           0.00

 15.     AVERAGE MONTHLY INCOME (Add amounts on                         $                   2,611.30        $                       1,938.25
           lines 6 and 14)
 16.     COMBINED AVERAGE MONTHLY INCOME:                                             $             4,549.55
           (combine column totals from line 15)
                                                                        (Report also on Summary of Schedules and, if applicable, on
                                                                        Statistical Summary of Certain Liabilities and Related Data)

 17.     Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this
         document:None.
      Case 13-36374-KRH                        Doc 1        Filed 11/25/13 Entered 11/25/13 19:16:02                                   Desc Main
                                                           Document      Page 28 of 58
B 6J (Official Form 6J) (12/07)

In re John Taylor Jordan and Carla Yvonne Jordan,                                               Case No.
                                        Debtor                                                                                (if known)

       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTORS
 Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled
“Spouse.”

1.    Rent or home mortgage payment (include lot rented for mobile home)
                                                                                                                                                    $2,300.00
      a.      Are real estate taxes included? Yes __X__ No _____
      b.      Is property insurance included? Yes __X__ No _____
2.    Utilities:     a.     Electricity and heating fuel
                                                                                                                                                         $385.00
                     b.     Water and sewer
                     c.     Telephone
                                                                                                                                                          $45.00
                       d.   Other: DISH.                                                                                                                 $145.00
3.    Home maintenance (repairs and upkeep)
                                                                                                                                                         $110.00
4.    Food
                                                                                                                                                         $800.00
5.    Clothing
                                                                                                                                                          $20.00
6.    Laundry and dry cleaning
7.    Medical and dental expenses
                                                                                                                                                         $100.00
8.    Transportation (not including car payments)
                                                                                                                                                         $520.00
9.    Recreation, clubs and entertainment, newspapers, magazines, etc.
10.   Charitable contributions
                                                                                                                                                          $20.00
11.   Insurance (not deducted from wages or included in home mortgage payments)
      a.      Homeowner’s or renter’s
      b.      Life
                                                                                                                                                         $208.00
      c.      Health
      d.      Auto
                                                                                                                                                         $154.00
      e.      Other ___________________________________________________________________
                                                                                                                                        $
12.   Taxes (not deducted from wages or included in home mortgage payments)
      (Specify): Personal Property Taxes.                                                                                                                $125.00
13.   Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
      a.      Auto                                                                                                                                  $1,070.00

      b.      Other: Student loan repayment.                                                                                                             $350.00
14.   Alimony, maintenance, and support paid to others
15.   Payments for support of additional dependents not living at your home
16.   Regular expenses from operation of business, profession, or farm (attach detailed statement)
17.   Other
                                                                                                                                        $                 255.00
                               Pet care.                                                                            $150.00
                               Barber/Beauty.                                                                        $25.00
                               Child care.                                                                           $80.00
18.   AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
      if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                               $                6,607.00
19.   Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
      document: None.
20.    STATEMENT OF MONTHLY NET INCOME
       a.  Average monthly income from Line 15 of Schedule I                                                                           $              4,549.55
       b.  Average monthly expenses from Line 18 above                                                                                 $              6,607.00
       c.  Monthly net income (a. minus b.)                                                                                            $             -2,057.45
           Case 13-36374-KRH                     Doc 1    Filed 11/25/13 Entered 11/25/13 19:16:02                            Desc Main
                                                         Document      Page 29 of 58
B6 Summary (Official Form 6 - Summary) (12/07)



                                          United States Bankruptcy Court
                                          ______________
                                             EASTERN DISTRICT OF VIRGINIA
                                                               RICHMOND DIVISION

In re John Taylor Jordan and Carla Yvonne Jordan
      ___________________________________,                                                Case No. ___________________
                       Debtor
                                                                                                  7
                                                                                          Chapter ____________

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property
                                                    YES                  1
                                                                                      $     319,000.00

 B - Personal Property
                                                    YES                  4            $      59,785.17

 C - Property Claimed
     as Exempt
                                                    YES                  2

 D - Creditors Holding
                                                    YES                  2                                  $        468,763.80
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $           1,962.91
     Priority Claims                                YES                  1
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $          95,534.67
     Nonpriority Claims                             YES                  2

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1

 I - Current Income of
                                                    YES                  1                                                          $        4,549.55
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  1                                                          $        6,607.00
     Debtors(s)

                                          TOTAL                                       $     378,785.17      $        566,261.38
                                                                        16
           Case 13-36374-KRH                Doc 1       Filed 11/25/13 Entered 11/25/13 19:16:02                           Desc Main
                                                       Document      Page 30 of 58
Form 6 - Statistical Summary (12/07)


                                       United States Bankruptcy Court
                                                 EASTERN DISTRICT OF VIRGINIA
                                       ______________________________________
                                                                 RICHMOND DIVISION

In re John Taylor Jordan and Carla Yvonne Jordan
      ___________________________________ ,                                             Case No. ___________________
                       Debtor
                                                                                                7
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00

 Taxes and Certain Other Debts Owed to Governmental Units             $        1,962.91
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $      60,286.41

 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $      62,249.32

State the following:
 Average Income (from Schedule I, Line 16)                            $        4,549.55

 Average Expenses (from Schedule J, Line 18)                          $        6,607.00

 Current Monthly Income (from Form 22A Line 12; OR, Form              $        7,840.33
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $        19,498.80
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $        1,962.91
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $        95,534.67

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $       115,033.47
              Case 13-36374-KRH
B6 Declaration (Official Form 6 - Declaration) (12/07)             Doc 1            Filed 11/25/13 Entered 11/25/13 19:16:02                                                                   Desc Main
                                                                                   Document      Page 31 of 58
      In re
              John Taylor Jordan and Carla Yvonne Jordan
              _________________________________________                                                                  ,                Case No. ______________________________
                            Debtor                                                                                                                             (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            18 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     November 18, 2013
Date __________________________________                                                                                        /s/John Taylor Jordan
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                John Taylor Jordan Debtor

     November 18, 2013
Date __________________________________                                                                                        /s/Carla Yvonne Jordan
                                                                                                                    Signature: ________________________________________________
                                                                                                                                           Carla Yvonne Jordan (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 7 (Official Form 7) (04/13)
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                          UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF VIRGINIA
                                                    RICHMOND DIVISION

In re: John Taylor Jordan and Carla Yvonne Jordan                       Case No
                                 Debtor                                                              (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2013):
                         $32,613.00                                       Jordan's Carpentry, Inc.


                         Previous Year 1 (2012):
                         $19,188.00                                       Jordan's Carpentry, Inc.


                         Previous Year 2 (2011):
                         $20,598.00                                       Jordan's Carpentry, Inc.

            Joint Debtor:
                      Current Year (2013):
                      $31,051.33                                          Orange County School Board


                         Previous Year 1 (2012):
                         $30,632.64                                       Orange County School Board


                         Previous Year 2 (2011):
                         $30,733.76                                       Orange County School Board



            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE
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                                                                                                                                    2




         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:
         Chase Bank                                                 09/2013; 08/2013       $1,090.10               $22,320.00
         Chase
         P.O. Box 901037
         Fort Worth, TX 76101-2037

         Chase Bank                                                 10/2013; 09/2013;      $1,620.00               $30,000.00
         Chase                                                      08/2013
         P.O. Box 901037
         Fort Worth, TX 76101-2037

         Clinical Pathology Assoc of Fredbg                         08/2013; 09/2013;      $630.00                 $8,149.90
         1001 Sam Perry Boulevard                                   10/2013
         Fredericksburg, VA 22401-4453

         Citi Cards                                                 08/2013; 09/2013;      $900.00                 $10,881.24
         P.O. Box 6500                                              10/2013
         Sioux Falls, SD 57117-6500

         Joint Debtor:

None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
Case 13-36374-KRH              Doc 1       Filed 11/25/13 Entered 11/25/13 19:16:02                               Desc Main
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                                                                                                                              3

      to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                              DATE OF                AMOUNT                AMOUNT
       AND RELATIONSHIP TO DEBTOR                                PAYMENT                PAID                  STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)separated and a joint petition is not filed.)

       CAPTION OF SUIT                             NATURE OF                 COURT OR                   STATUS OR
       AND CASE NUMBER                             PROCEEDING                AGENCY AND                 DISPOSITION
                                                                             LOCATION

       Debtor:
       N/A

       Joint Debtor:
       American Express Bank v. Carla             Warrant in Debt           Spotsylvania County        Pending
       Jordan and Jordan's Carpentry, Inc.                                  General District Court
       Case Number: GV13004921-00                                           Spotsylvania, VA


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                 DESCRIPTION
       OF PERSON FOR WHOSE                                       DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                               SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                 DATE OF REPOSSESSION,                    DESCRIPTION
       NAME AND ADDRESS                          FORECLOSURE SALE,                        AND VALUE
       OF CREDITOR OR SELLER                     TRANSFER OR RETURN                       OF PROPERTY


       Debtor:
       Spotsylvania County                      05/2013
                                                                                         Value: $325.00
       Spotsylvania, VA

       Joint Debtor:
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       N/A



       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
       OF PERSON                          TO DEBTOR,                          DATE               AND VALUE
       OR ORGANIZATION                    IF ANY                              OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                              DATE
       PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                    OF LOSS
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       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Debt Education and Certification         10/14/2013                                $40.00
       Foundation
       114 Goliad Street
       Benbrook, TX 76126-2009


       Robert B. Easterling, Attorney           11/18/2013                                $1,500.00
       2217 Princess Anne Street, Suite                                                   Legal Fees
       100-2
       Fredericksburg, VA 22401-3359


       Joint Debtor:
       N/A



       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED

       Debtor:
       Craig's List                                                    6/2013                 2007 Suzuki Boulevard
                                                                                              Value: $4,500.00

       Relationship to Debtor: n/a

       Joint Debtor:
       N/A


None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF            AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)           AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                   INTEREST IN PROPERTY




       11. Closed financial accounts
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None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                         OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                          IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                              DATE OF                        AMOUNT
       NAME AND ADDRESS OF CREDITOR                                           SETOFF                         OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                           DESCRIPTION AND
       OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor
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None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                           NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.
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          NAME AND ADDRESS                                                                                STATUS OR
          OF GOVERNMENTAL UNIT                                             DOCKET NUMBER                  DISPOSITION




          18 . Nature, location and name of business

None      a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities, within six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities within six years immediately preceding the commencement of this case.


                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                       BEGINNING
                               OR OTHER INDIVIDUAL                                                                      AND
                               TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
          NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES

          Debtor:
          Jordan's             4139/                            8400 S. Carolina Court          Carpentry               Beginning Date:
          Carpentry, Inc.      XX-XXXXXXX                       Spotsylvania, VA 22553                                  02/27/2003
                                                                                                                        Ending Date: n/a

          Joint Debtor:
          N/A


None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements
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None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
      bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                                   DATES SERVICES RENDERED

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
      case have audited the books of account and records, or prepared a financial statement of the debtor.

       NAME                                    ADDRESS                                    DATES SERVICES RENDERED

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
      books of account and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                              ADDRESS

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
      financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                                 DATE ISSUED

       Debtor:
       N/A

       Joint Debtor:
       N/A



       20. Inventories

None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                          DOLLAR AMOUNT
                                                                                          OF INVENTORY
                                                                                          (Specify cost, market or other
       DATE OF INVENTORY                       INVENTORY SUPERVISOR                       basis)

       Debtor:
       N/A
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       Joint Debtor:
       N/A


None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS

       Debtor:
       N/A

       N/A



       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST

       N/A


None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP

       N/A



       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL

       N/A


None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                    DATE OF TERMINATION

       N/A



       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
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      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                                      DATE AND PURPOSE                                   OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                             OF WITHDRAWAL                                      AND VALUE OF PROPERTY

       N/A



       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date November 18, 2013                                                    of Debtor         /s/John Taylor Jordan

                                                                                 Signature of
                                                                                 Joint Debtor
       Date November 18, 2013                                                    (if any)     /s/Carla Yvonne Jordan

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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                           UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION
In re John Taylor Jordan and Carla Yvonne Jordan                              Case No.
           Debtor                                                             Chapter 7

           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 US Bank                                                   8400 South Carolina Court, Spotsylvania, VA 22553-3801
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain continue making regular scheduled payments.

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 2
 Creditor's Name:                                          Describe Property Securing Debt:
 US Bank                                                   8400 South Carolina Courtl, Spotsylvania, VA 22553-3801
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain continue making regular scheduled payments.

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt
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 Property No. 3
 Creditor's Name:                                        Describe Property Securing Debt:
 Partners 1st FCU                                        2008 Suzuki Boulevard
 Property will be (check one):
           Surrendered                      Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt               Not claimed as exempt

 Property No. 4
 Creditor's Name:                                        Describe Property Securing Debt:
 Subaru Motors Finance                                   2013 Subaru Outback
 Property will be (check one):
           Surrendered                      Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt               Not claimed as exempt

 Property No. 5
 Creditor's Name:                                        Describe Property Securing Debt:
 Chase Bank                                              2011 Subaru Forester
 Property will be (check one):
           Surrendered                      Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt               Not claimed as exempt
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PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                          Describe Leased Property:                Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: November 18, 2013                                            /s/John Taylor Jordan
                                                                   Signature of Debtor



                                                                   /s/Carla Yvonne Jordan
                                                                   Signature of Joint Debtor
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        John Taylor Jordan and Carla Yvonne
        Jordan
  In re ______________________________                              According to the information required to be entered on this statement
                  Debtor(s)                                         (check one box as directed in Part I, III, or VI of this statement):
                                                                                The presumption arises.
  Case Number: __________________
                                                                            X   The presumption does not arise.
                 (If known)
                                                                                The presumption is temporarily inapplicable.

                            CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                      AND MEANS-TEST CALCULATION
  In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
  in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
  complete separate statements if they believe this is required by § 707(b)(2)(C).


                                     Part I. MILITARY AND NON-CONSUMER DEBTORS

           Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
           beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
           complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran
           (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty
           (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C.
           §901(1)).

           Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
           verification in Part VIII. Do not complete any of the remaining parts of this statement.
    1B
               Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

           Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
           of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
           § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
           (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
           time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
           this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
           Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
           top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
           to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
           your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
           case before your exclusion period ends.

              Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
    1C     below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
           component of the Armed Forces or the National Guard


                                a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                             I remain on active duty /or/
                                             I was released from active duty on ________________, which is less than 540 days before
                                this bankruptcy case was filed;
                                           OR
                                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                        I performed homeland defense activity for a period of at least 90 days, terminating on
                                     _______________, which is less than 540 days before this bankruptcy case was filed.
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                  Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
           Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
     2          are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                Complete only Column A (“Debtor’s Income”) for Lines 3-11.
           c.    Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
           d. X Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                Lines 3-11.
           All figures must reflect average monthly income received from all sources, derived during           Column A      Column B
           the six calendar months prior to filing the bankruptcy case, ending on the last day of the           Debtor’s      Spouse’s
           month before the filing. If the amount of monthly income varied during the six months, you           Income        Income
           must divide the six-month total by six, and enter the result on the appropriate line.
     3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $   3,209.00 $     3,511.33
           Income from the operation of a business, profession or farm. Subtract Line b from Line a
           and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
           business, profession or farm, enter aggregate numbers and provide details on an attachment.
           Do not enter a number less than zero. Do not include any part of the business expenses
     4     entered on Line b as a deduction in Part V.
             a.      Gross receipts                                   $                         0.00
             b.      Ordinary and necessary business expenses         $                          0.00
             c.      Business income                                  Subtract Line b from Line a          $        0.00 $        0.00
           Rent and other real property income. Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
           any part of the operating expenses entered on Line b as a deduction in Part V.
     5       a.      Gross receipts                                   $                         0.00
             b.      Ordinary and necessary operating expenses        $                         0.00
             c.      Rent and other real property income              Subtract Line b from Line a          $        0.00 $        0.00
     6     Interest, dividends and royalties.                                                              $        0.00 $        0.00
     7     Pension and retirement income.                                                                  $        0.00 $        0.00
           Any amounts paid by another person or entity, on a regular basis, for the household
           expenses of the debtor or the debtor’s dependents, including child support paid for that
     8     purpose. Do not include alimony or separate maintenance payments or amounts paid by
           your spouse if Column B is completed. Each regular payment should be reported in only one
           column; if a payment is listed in Column A, do not report that payment in Column B.         $            0.00 $        0.00
           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
           However, if you contend that unemployment compensation received by you or your spouse
           was a benefit under the Social Security Act, do not list the amount of such compensation in
     9     Column A or B, but instead state the amount in the space below:
            Unemployment compensation claimed to
            be a benefit under the Social Security Act      Debtor $ ________   Spouse $ _________         $        0.00 $        0.00
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           Income from all other sources. Specify source and amount. If necessary, list additional
           sources on a separate page. Do not include alimony or separate maintenance payments
           paid by your spouse if Column B is completed, but include all other payments of
           alimony or separate maintenance. Do not include any benefits received under the Social
           Security Act or payments received as a victim of a war crime, crime against humanity, or as a
    10     victim of international or domestic terrorism.
             a.        Income from Jordan's Carpentry, Inc.                            $      1,120.00
             b.                                                                        $
             Total and enter on Line 10                                                                     $        0.00 $     1,120.00
           Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
    11
           and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).           $   3,209.00 $      4,631.33
           Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12     Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
           completed, enter the amount from Line 11, Column A.                                              $                   7,840.33

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
           12 and enter the result.                                                                                         $ 94,083.96
           Applicable median family income. Enter the median family income for the applicable state and household
           size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
    14
           bankruptcy court.)
                                                 VA
           a. Enter debtor’s state of residence: _______________                                   4
                                                                 b. Enter debtor’s household size: __________               $ 90,945.00
           Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15            The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
                   not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
            X     The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                  Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                  Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16     Enter the amount from Line 12.                                                                                   $   7,840.33
           Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
           Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
           debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
           payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
           dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
    17     a separate page. If you did not check box at Line 2.c, enter zero.
             a.                                                                       $
             b.                                                                       $
             c.                                                                       $
             Total and enter on Line 17.                                                                                    $       0.00

    18     Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                      $   7,840.33
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                              Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
     National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
     National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
 19A information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
     number of persons is the number that would currently be allowed as exemptions on your federal income tax
     return, plus the number of any additional dependents whom you support.                                                $   1,465.00
      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
      of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
      of-Pocket Health Care for persons 65 years of age or older. (This information is available at
      www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
      persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
      years of age or older. (The applicable number of persons in each age category is the number in that category
      that would currently be allowed as exemptions on your federal income tax return, plus the number of any
      additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons
  19B under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
      and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
      enter the result in Line 19B.
           Persons under 65 years of age                           Persons 65 years of age or older
           a1.     Allowance per person                      60.00 a2.   Allowance per person                  144.00
           b1.     Number of persons                             4 b2.   Number of persons                           0
           c1.     Subtotal                                 240.00 c2.   Subtotal                                0.00      $    240.00
     Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
     Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
 20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
     consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
     the number of any additional dependents whom you support.                                                    $             595.00
      Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
      IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
      information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
      family size consists of the number that would currently be allowed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support); enter on Line b the total of the
      Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
  20B Line a and enter the result in Line 20B. Do not enter an amount less than zero.
           a.      IRS Housing and Utilities Standards; mortgage/rental expense      $              1,893.00
           b.      Average Monthly Payment for any debts secured by your home,
                   if any, as stated in Line 42                                      $              2,300.00
           c.      Net mortgage/rental expense                                       Subtract Line b from Line a.          $      0.00
         Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
         and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
         Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
   21    your contention in the space below:
         _______________________________________________________________________________________
         _______________________________________________________________________________________
         _______________________________________________________________________________________                           $      0.00
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         Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
         an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
         regardless of whether you use public transportation.
     Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
     are included as a contribution to your household expenses in Line 8.
 22A     0      1 X 2 or more.
     If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
     Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
     Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
     Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
     the bankruptcy court.)                                                                                              $    554.00
      Local Standards: transportation; additional public transportation expense. If you pay the operating
      expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
  22B additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
      amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
      the clerk of the bankruptcy court.)                                                                                $      0.00
         Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
         which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
         two vehicles.)
            1 X 2 or more.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
   23    Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23. Do not enter an amount less than zero.
           a.      IRS Transportation Standards, Ownership Costs                      $               517.00
           b.      Average Monthly Payment for any debts secured by Vehicle 1,
                   as stated in Line 42                                               $               538.62
           c.      Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.       $      0.00
         Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
         checked the “2 or more” Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
         Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
   24    Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.      IRS Transportation Standards, Ownership Costs                      $               517.00
           b.      Average Monthly Payment for any debts secured by Vehicle 2,
                   as stated in Line 42                                               $               529.10
           c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.       $      0.00
         Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
   25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
         taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $   1,611.11
         Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
   26    payroll deductions that are required for your employment, such as retirement contributions, union dues, and
         uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                         $      0.00
         Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
   27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
         life or for any other form of insurance.                                                                    $        208.00
         Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
   28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
         payments. Do not include payments on past due obligations included in Line 44.                              $          0.00
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         Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
         Enter the total average monthly amount that you actually expend for education that is a condition of
   29
         employment and for education that is required for a physically or mentally challenged dependent child for
         whom no public education providing similar services is available.                                                         $        0.00
         Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
   30    childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
         payments.                                                                                                                 $        0.00
         Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
         on health care that is required for the health and welfare of yourself or your dependents, that is not
   31
         reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
         Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $        0.00
         Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service—
   32
         such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
         your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $        0.00
   33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                       $   4,673.11

                                    Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
         expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
         or your dependents.
           a.         Health Insurance                                                  $            933.15
   34      b.         Disability Insurance                                              $               0.00
           c.         Health Savings Account                                            $               0.00

         Total and enter on Line 34                                                                                                $     933.15
         If you do not actually expend this total amount, state your actual total average monthly expenditures in the
         space below:
         $ ____________
         Continued contributions to the care of household or family members. Enter the total average actual
         monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
   35
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                          $        0.00
         Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
         actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
   36
         Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
         court.                                                                                                                    $        0.00
         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
         Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
   37
         provide your case trustee with documentation of your actual expenses, and you must demonstrate that
         the additional amount claimed is reasonable and necessary.                                                                $        0.00
         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or
   38    secondary school by your dependent children less than 18 years of age. You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                              $                        0.00
*Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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         Additional food and clothing expense. Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
   39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
         amount claimed is reasonable and necessary.                                                                       $      0.00
         Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
   40
         cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).               $      0.00


   41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
                                                                                                                           $    933.15

                                                Subpart C: Deductions for Debt Payment
           Future payments on secured claims. For each of your debts that is secured by an interest in property that
           you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
           Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
           total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
           filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
           the total of the Average Monthly Payments on Line 42.
                          Name of                Property Securing the Debt            Average       Does payment
   42                     Creditor                                                     Monthly       include taxes
                                                                                       Payment       or insurance?
            a.     US Bank                 See Attachment 1                    $          2,051.58   
                                                                                                     X yes  no

            b.     US Bank                 See Attachment 2                    $          1,011.62    yes 
                                                                                                           X no

            c.     Partners 1st FCU2008 Suzuki Boulevard                       $            137.96    yes 
                                                                                                           X no
                                     See Attachment 3: Future Payments           Total: Add
                                                                                 Lines a, b and c.                     $       4,268.88
           Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
           residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
           you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
           in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
           amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
           List and total any such amounts in the following chart. If necessary, list additional entries on a separate
           page.
   43                   Name of                Property Securing the Debt            1/60th of the Cure Amount
                         Creditor
            a.                                                                     $
            b.                                                                     $
            c.                                                                     $

                                                                                   Total: Add Lines a, b and c             $      0.00
           Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
   44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
           filing. Do not include current obligations, such as those set out in Line 28.                                $         0.00
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           Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
           following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
           expense.
            a.       Projected average monthly chapter 13 plan payment.                               $
   45       b.       Current multiplier for your district as determined under schedules issued
                     by the Executive Office for United States Trustees. (This information is
                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                     court.)                                                                          x
            c.       Average monthly administrative expense of chapter 13 case                        Total: Multiply Lines
                                                                                                      a and b                      $
   46      Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $   4,268.88

                                                Subpart D: Total Deductions from Income
   47      Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                             $   9,875.14

                               Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
   48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $   7,840.33
   49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $   9,875.14
   50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                         $ -2,034.81

   51      60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
           enter the result.                                                                                                       $        0.00
           Initial presumption determination. Check the applicable box and proceed as directed.
            X The amount on Line 51 is less than $7,475*. Check the box for “The presumption does not arise” at the top of page 1
                  of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
   52            The amount set forth on Line 51 is more than $12,475*. Check the box for “The presumption arises” at the top of
                  page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                  the remainder of Part VI.
                 The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines
                  53 through 55).
   53      Enter the amount of your total non-priority unsecured debt                                                              $        0.00
   54      Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                         0.00
           Secondary presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
   55             the top of page 1 of this statement, and complete the verification in Part VIII.
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                  arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                  VII.

                                           Part VII: ADDITIONAL EXPENSE CLAIMS
           Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
           and welfare of you and your family and that you contend should be an additional deduction from your current monthly
           income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
           average monthly expense for each item. Total the expenses.
   56
                                                  Expense Description                                     Monthly Amount
            a.                                                                                       $
            b.                                                                                       $
            c.                                                                                       $
                                                                Total: Add Lines a, b and c          $
*Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                        Part VIII: VERIFICATION
           I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
           both debtors must sign.)

    57
                                November 18, 2013
                          Date: ________________________                                    /s/John Taylor Jordan
                                                                                 Signature: ________________________
                                                                                                   (Debtor)
                                November 18, 2013
                          Date: ________________________                                    /s/Carla Yvonne Jordan
                                                                                 Signature: ________________________
                                                                                             (Joint Debtor, if any)
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                                     Attachment

Attachment 1

         8400 South Carolina Court, Spotsylvania, VA 22553-3801

Attachment 2

         8400 South Carolina Courtl, Spotsylvania, VA 22553-3801

Attachment 3: Future Payments
    Name of Creditor: Subaru Motors Finance
    Property Securing the Debt: 2013 Subaru Outback
    Average Monthly Payment: $529.10
    Does payment include taxes or insurance?: No

    Name of Creditor: Chase Bank
    Property Securing the Debt: 2011 Subaru Forester
    Average Monthly Payment: $538.62
    Does payment include taxes or insurance?: No
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                                               EASTERN DISTRICT OF VIRGINIA
                                                        RICHMOND DIVISION


×² ®»
          John Taylor Jordan and Carla Yvonne Jordan
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

Ü»¾¬±®                                                                                   Ý¸¿°¬»® ÁÁÁÁÁÁÁÁÁ
                                                                                                 7


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   ¾¿²µ®«°¬½§ô ±® ¿¹®»»¼ ¬± ¾» °¿·¼ ¬± ³»ô º±® -»®ª·½»- ®»²¼»®»¼ ±® ¬± ¾» ®»²¼»®»¼ ±² ¾»¸¿´º ±º ¬¸» ¼»¾¬± ®ø-÷
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ëò ×² ®»¬«®² º±® ¬¸» ¿¾±ª»ó¼· -½´± -»¼ º»»ô × ¸¿ª» ¿¹®»»¼ ¬± ®»²¼»® ´»¹¿´ -»®ª·½» º±® ¿´´ ¿-°»½¬- ±º ¬¸» ¾¿²µ®«°¬½§
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                      Document      Page 57 of 58
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Rule 2004 Proceedings, Contested Matters, Adversary Proceedings, and Amendments




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      November 18, 2013
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                   /s/Robert B. Easterling
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                   Ü¿¬»                                                     Robert B. Easterling
                                                                           Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                                  Robert B. Easterling, Attorney
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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Case 13-36374-KRH                 Doc 1        Filed 11/25/13 Entered 11/25/13 19:16:02                     Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF VIRGINIA
                                               RICHMOND DIVISION


In re                                                                     Chapter 7

        John Taylor Jordan and Carla Yvonne                               Case No.
        Jordan

                                Debtors.



                                STATEMENT OF MONTHLY NET INCOME
The undersigned certifies the following is the debtor's monthly income.


Income:                                      Debtor                                          Joint Debtor

    Six months ago                          $   2,611.25                                     $    1,869.52

    Five months ago                         $   3,275.32                                     $    1,869.52

    Four months ago                         $   1,066.45                                     $    2,830.72

    Three months ago                        $   2,304.77                                     $    3,000.00

    Two months ago                          $   1,777.20                                     $    2,500.00

    Last month                              $   2,207.00                                     $    1,938.25

    Total Net income for six
    months preceding filing                 $   13,241.99                                    $    14,008.01

    Average Monthly Net Income              $   2,207.00                                     $    2,334.67




Dated:     November 18, 2013
                                                                                /s/John Taylor Jordan
                                                                                  John Taylor Jordan
                                                                                        Debtor



                                                                               /s/Carla Yvonne Jordan
                                                                                 Carla Yvonne Jordan
                                                                                     Joint Debtor
